                     IN THE UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

   IN RE:                                         )
                                                  )
   ROBERTS, WILLIAM BARRIER                       ) CASE NO. 18-83442-CRJ11
   SSN: XXX-XX-9314                               ) CHAPTER 11
                                                  )
       Debtor.                                    )

       SUPPLEMENT TO MOTION TO CONTINUE CONFIRMATION HEARING
                    AND ALL ASSOCIATED DEADLINES

        COMES NOW William Barrier Roberts (“Debtor”), by and through undersigned counsel,

 and hereby files this supplement to Debtor's Motion to Continue Confirmation Hearing and All

 Associated Deadlines [Doc. 305], in order to reflect the following:

        1.       [Exhibit A] Letter from Vanderbilt-Ingram Cancer Center.

        Respectfully submitted this the 28th day of February, 2020.

                                                     /s/ Stuart M. Maples
                                                     STUART M. MAPLES
                                                     (ASB-1974-S69S)

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                                  CERTIFICATE OF SERVICE

 I do hereby certify that on February 28, 2020, a copy of the foregoing document was served on
 the following by Electronic Case Filing a copy of the same.

 Richard Blythe
 Bankruptcy Administrator
 richard_blythe@alnba.uscourts.gov

 All parties requesting notice via CM/ECF

 All parties listed on the creditor mailing matrix

                                                           /s/ Stuart M. Maples
                                                           STUART M. MAPLES




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                                                                   EXHIBIT A




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